                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                   3:11cr190

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
Vs.                                 )                        ORDER
                                    )
BONNIE KNIGHT BRIDGES,              )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the court on the Petition to Adjudicate Claim to Property

Under 21 U.S.C. 853(n) (#132) by petitioner Terry Lee Bridges who claims an interest in

property listed in the preliminary order of forfeiture (#95). The issue appears to be whether Mr.

Bridges has a valid claim to the property under 21 U.S.C. § 853(n)(6)(B). The government’s

response reflects that petitioner has been consulted and plans on providing documentation of his

right to the disputed property.     The motion also reflects that, upon such a showing, the

government is willing to consider “settlement options or other possible resolutions which may

eliminate the need for a hearing.” Govt. Resp. at 2. The court finds that a temporary stay of this

matter is appropriate as it would allow time for petitioner’s proffer and any subsequent

settlement discussions. Accordingly, the court enters the following order.

                                             ORDER

       IT IS, THEREFORE, ORDERED that the Petition to Adjudicate Claim to Property

Under 21 U.S.C. 853(n) (#132) is STAYED for a period of 30 days upon the entry of this order.

At that time, the parties should file a consent motion notifying the court of any settlement or, in

the alternative, any dispute remaining over the property at issue.




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    Signed: February 15, 2013




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